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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
UNITED STATES SECURITIES AND                                   :
EXCHANGE COMMISSION,

                                                             :     ORDER
                          Plaintiff,                               19 Civ. 4355 (VM) (GWG)
                                                             :
        -v.-
                                                             :
COLLECTOR'S COFFEE INC., et al.,
                                                             :

                           Defendants.                         :
---------------------------------------------------------------X

GABRIEL W. GORENSTEIN, United States Magistrate Judge

        With regard to the application made in Docket ## 735, 736, 741, the motion for a
protective order as to the deposition of Mark Walter is granted in light of his apparent lack of
unique personal knowledge of the issues in this case, the ability to obtain information from other
sources, and the Court’s consideration of the factors in Fed. R. Civ. P. 26(b)(1), including the
importance of the discovery and the burden on Walter. In the unlikely event future depositions
show unique personal knowledge of Walter, the application may be renewed.

Dated: January 13, 2021
       New York, New York
